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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                            Jacksonville Division


UNITED STATES EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

                    Plaintiff,
vs.                                           Civil Action No. _______________


UNITED PARCEL SERVICE, INC.

               Defendant.
______________________________________/

 PLAINTIFF EQUAL EMPLOYMENT OPPORTUNITY COMMISSION’S
          COMPLAINT AND DEMAND FOR JURY TRIAL

      This is an action under the Americans with Disabilities Act of 1990, 42

 U.S.C. §12101, et seq. (“ADA”), as amended by the Americans with

 Disabilities Act Amendments Act of 2008 (“ADAAA”), Pub. L. No. 110–

 325, 122 Stat 3553 (2008) (codified as amended in scattered sections of 42

 U.S.C.), and Title I of the Civil Rights Act of 1991, 42 U.S.C. §1981a. The

 United States Equal Employment Opportunity Commission (“EEOC” or

 “Commission”) alleges that Defendant United Parcel Service, Inc. (“UPS” or

 “Defendant”) discriminated against Charging Party Mark Fowler (“Mr.

 Fowler”) when it failed to accommodate him and terminated him on the basis

 of his disability (diabetes) in violation of 42 U.S.C. § 12112(a).


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                     JURISDICTION AND VENUE

1.   Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451,

     1331, 1337, 1343 and 1345. This action is authorized and instituted

     pursuant to Section 107(a) of the ADA, 42 U.S.C. §12117(a), which

     incorporates by reference Section 706(f)(1) and (3) of Title VII of the

     Civil Rights Act of 1964 (“Title VII”), as amended 42 U.S.C. § 2000e-

     5(f)(1) and (3), and pursuant to Section 102 of the Civil Rights Act of

     1991, 42 U.S.C. § 1981a.

2.   The employment practices alleged to be unlawful were committed

     within the jurisdiction of the United States District Court for the Middle

     District of Florida, Jacksonville Division.

                                 PARTIES

3.   The Commission is an Agency of the United States of America charged

     with the administration, interpretation and enforcement of Title I of the

     ADA and is expressly authorized to bring this action by Section 107(a)

     of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference

     §§ 706(f)(1) and (3) of Title VII, 42 U.S.C. §§ 2000e-5(f)(1) and (3).

4.   Defendant is a multi-national shipping, receiving, and supply chain

     management company.

5.   One of Defendant’s warehouses is located in Jacksonville, Florida.


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6.    At all relevant times, Defendant has continuously done business in

      Florida, and has continuously had at least fifteen employees.

7.    At all relevant times, Defendant has continuously been an employer

      engaged in an industry affecting commerce under Sections 101(5) and

      101(7) of the ADA, 42 U.S.C. § 12111(5), (7), which incorporates by

      reference 42 U.S.C. 701(b), (g), and (h) of Title VII, 42 U.S.C. § 2000e

      (b), (g), and (h).

8.    At all relevant times, Defendant has been a covered entity under

      Section 101(2) of the ADA, 42 U.S.C. § 12111(2).

                   ADMINISTRATIVE PROCEEDINGS

9.    More than thirty days prior to the institution of this lawsuit, Mr. Fowler

      filed a charge of discrimination with the Commission against

      Defendant alleging disability discrimination in violation of the ADA.

10.   The Commission sent Defendant notice of Mr. Fowler’s discrimination

      charge.

11.   The Commission issued a Letter of Determination on October 29, 2020

      finding reasonable cause to believe that Defendant discriminated

      against Mr. Fowler because of his disability (diabetes).




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12.   The Commission engaged in communications with Defendant to

      provide Defendant the opportunity to remedy the discriminatory

      practices described in the Letter of Determination.

13.   The Commission was unable to secure from Defendant a conciliation

      agreement acceptable to the Commission.

14.   All conditions precedent to the institution of this lawsuit have been

      fulfilled.

                         STATEMENT OF FACTS

15.   UPS is a multinational shipping, receiving, and supply chain

      management company.

16.   Mark Fowler has a disability, known as brittle diabetes.

17.   Mr. Fowler wears an insulin pump and a continuous glucose monitor.

      Mr. Fowler monitors his blood sugar on a continuous basis and needs to

      check his blood sugar every one-to-two hours to determine whether he

      needs to eat or drink something to regulate his blood sugar.

18.   Mr. Fowler’s brittle diabetes substantially impacts, either with or

      without mitigating measures major life activities, including without

      limitation, his endocrine function, eating, and sleeping.




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19.   Around September 2019, Mr. Fowler applied to work at UPS as a Pre-

      Loader—a position also known as Package Handler—to work at the

      UPS warehouse located in Jacksonville.

20.   About one week after submitting the application, Regina Zeigler

      Madison, UPS Human Resources Supervisor, invited Mr. Fowler for an

      interview and to tour the UPS warehouse facility located in

      Jacksonville.

21.   During this in-person interview, Mr. Fowler discussed his diabetes and

      his need for a reasonable accommodation with Ms. Zeigler Madison.

22.   The accommodation Mr. Fowler requested was to be able to check his

      blood sugar every one-to-two hours between unloading trailers. Mr.

      Fowler also asked that on those occasions that the blood sugar check

      revealed that his blood sugar was low, he would be able to take a brief

      break (less than five minutes) to eat or drink something to regulate his

      blood sugar. Ms. Zeigler Madison initially said that Mr. Fowler’s

      requested accommodation would be acceptable.

23.   During his in-person interview, Mr. Fowler was offered the position to

      work as a package handler for UPS during the shift referred to as “pre-

      loader” shift.




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24.   At all material times, Mr. Fowler was able to perform the essential

      functions of the package handler job on the UPS shift referred to as the

      “pre-loader” shift with or without a reasonable accommodation.

25.   At all material times, Mr. Fowler was able to work the pre-loader shift;

      he is capable of lifting heavy packages, loading packages, organizing

      packages, assembling cartons, using hand tools, and other related tasks.

26.   Mr. Fowler began working for UPS on September 24, 2019, on the

      night shift. He completed his first shift without any issues.

27.   At the end of his shift, Ms. Zeigler Madison asked Mr. Fowler to see

      him in her office. In the meeting in her office, Ms. Zeigler Madison

      told Mr. Fowler that he was not capable of doing the job because of his

      disability and tried to change his position from a permanent position to

      a temporary position. Mr. Fowler explained that he did not want a

      temporary position as that was not the position that he applied for and

      that he was capable of doing his job with the accommodation he

      requested.

28.   Mr. Fowler returned to work the night shift at UPS on September 25,

      2019. Again, he was able to perform his job at UPS, with his

      accommodation, without any issues. Towards the end of his shift, Ms.

      Zeigler Madison asked Mr. Fowler to visit her in her office. Ms.


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      Zeigler Madison told Mr. Fowler that he was a liability to the company

      in reference to his disability.

29.   Ms. Zeigler Madison also informed him that UPS would not grant him

      his request for the reasonable accommodation—without providing Mr.

      Fowler any explanation.

30.   Shortly after leaving his night shift of September 25th, Ms. Zeigler

      Madison called Mr. Fowler and left him a voicemail message

      terminating his employment at UPS.

31.   UPS was unwilling to provide Mr. Fowler with a reasonable

      accommodation for his disability.

32.   UPS terminated Mr. Fowler’s employment at UPS because of his

      disability

33.   As a result, Mr. Fowler has been damaged.

                         STATEMENT OF CLAIMS

34.   Paragraphs 1 through 33 are incorporated by reference as if fully set

      forth herein.

35.   Mr. Fowler is a qualified individual with a disability as defined by the

      ADA.

36.   UPS discriminated against Mr. Fowler in violation of 42 U.S.C. §

      12112(a) and (b)(5) by not providing a reasonable accommodation.


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37.      UPS discriminated against Mr. Fowler in violation of 42 U.S.C. §

         12112(a) and (b)(5) by terminating his employment because of his

         disability.

38.      As a direct and proximate result of the practices complained of in the

         foregoing paragraphs, Mr. Fowler has suffered actual pecuniary and

         non-pecuniary damage, including but not limited to lost earnings and

         benefits, emotional pain, suffering, embarrassment, and inconvenience.

39.      The unlawful employment practices complained of in the foregoing

         paragraphs were intentional and were done with malice or with reckless

         indifference to the federally protected rights of Mr. Fowler.

40.      The effect of the practices complained of in the foregoing paragraphs

         has been to deprive Mr. Fowler of equal employment opportunities and

         otherwise to adversely affect his status as an employee because of his

         disability.

                             PRAYER FOR RELIEF

            WHEREFORE, the Commission respectfully requests that this

Court:

41.      Grant a permanent injunction enjoining Defendant, its officers,

         parent(s), successors, assigns, agents, managers, employees and all

         persons in active concert or participation with it, from engaging in


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      employment practices which discriminate against qualified individuals

      on the basis of disability;

42.   Order Defendant to institute and carry out policies, practices, and

      programs which provide equal employment opportunities for qualified

      individuals with disabilities, and which eradicate the effects of its past

      and present unlawful employment practices;

43.   Order Defendant to make Mr. Fowler whole by providing

      compensation for past, present, and future pecuniary losses, including

      job search expenses, resulting from the unlawful employment practices

      complained of herein, in amounts to be determined at trial, and other

      affirmative relief as necessary to eradicate the effects of Defendant’s

      unlawful employment practices;

44.   Order Defendant to make Mr. Fowler whole by providing compensation

      for past, present, and future non-pecuniary losses resulting from the

      unlawful employment practices described above, including, emotional

      pain, suffering, inconvenience, loss of enjoyment of life, and

      humiliation, in amounts to be determined at trial;

45.   Order Defendant to make Mr. Fowler whole by providing appropriate

      back pay with pre-judgment interest and lost benefits, in amounts to be




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      determined at trial, and other affirmative relief necessary to eradicate

      the effects of Defendant’s unlawful employment practices;

46.   Order Defendant to reinstate Mr. Fowler to work at UPS as a pre-loader

      or package handler, or to pay front pay in lieu thereof.

47.   Order Defendant to pay Mr. Fowler punitive damages for engaging in

      intentional discrimination with malice or with reckless indifference, in

      amounts to be determined at trial;

48.   Grant such other further relief as the Court deems necessary and proper

      in the public interest; and

49.   Award the Commission its costs in this action.

                        JURY TRIAL DEMANDED

      The Commission requests a jury trial on all questions of fact raised by

this Complaint.

Dated: June 30, 2021.

                                              Respectfully submitted,

                                              UNITED STATES EQUAL
                                              EMPLOYMENT
                                              OPPORTUNITY
                                              COMMISSION

                                              GWENDOLYN YOUNG
                                              REAMS
                                              Acting General Counsel
                                              U.S. Equal Employment
                                              Opportunity Commission
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